       Case 17-02026-tnw       Doc 11      Filed 04/18/18 Entered 04/18/18 16:26:18             Desc Main
                                           Document      Page 1 of 1


                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     COVINGTON DIVISION

        IN RE

        CHRISTOPHER LEE HIGHLANDER                                                 CASE NO. 17-20965
        LISA CAROL HIGHLANDER

        DEBTORS

        CHRISTOPHER LEE HIGHLANDER,                                                       PLAINTIFFS
        et al.

        V.                                                                           ADV. NO. 17-2026

        COUNTRYSIDE RENTALS, INC., et al.                                               DEFENDANTS


                     ORDER SETTING TELEPHONIC PRETRIAL CONFERENCE

                An Order for Trial [ECF No. 7] having been entered on February 1, 2018, scheduling

        the trial in this adversary proceeding on May 29, 2018, at 9:30 a.m., and the Court having

        reviewed the court record and being sufficiently advised,

                It is ORDERED:

                1. This matter shall come before the Court for a telephonic pretrial conference on

        May 21, 2018, at 1:30 p.m. (prevailing time), call-in number: 1-888-363-4749; Participant

        Code: 6879731; Security Code: 66078.

                2. Counsel for each party shall attend the pretrial conference and be prepared to advise

        the Court regarding the status of settlement negotiations of the within matter.

                3. The parties shall be prepared to identify any and all factual and legal issues to be

        determined at a trial of the within matter.

                4. Counsel for Plaintiff shall serve this Order on all parties unless the party will

        receive electronic service through the Court’s CM/ECF system.




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                        Signed By:
                                                        Tracey N. Wise
                                                        Bankruptcy Judge
                                                        Dated: Wednesday, April 18, 2018
                                                        (tnw)
